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UNITEI) STATES DISTRICT COURT

FOR THE EASTERN ¥)ISTRICT OF LOUISIANA

KURIAN DAVII}, E'I` AL. CIVIL ACTION NO. Z:GS-CV-IZZ()
PLAINTIFFS SECTION: “A”
VERSUS MAGISTRATE: “3”

SIGNAL INTERNATIONAL, LLC, E'I` AL.

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I)EFENDANTS

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MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
FILED ON BEHALF OF MALVERN C. BURNETT, LAW {)FFICES OF MALVERN C.
BURNETT, A PROFESSI{)NAL LAW CORP()RA'I‘ION AND GULF COAST
IMMIGRATION LAW CENTER, L.L.C.
1. BACKGRGUND
A. Immigration Law Background
(1) General
The lmmigration and Nationality Act, 8 U.S.C. § 1001, et seq. (“INA”) creates two broad
classifications for persons seeking to enter the United States: immigrant and non-immigrant A
person is presumed to be an immigrant unless proved to fall Within one of the classes of persons
considered non~immigrants. 8 U.S.C. § 1184(b) (1994). “Uniike the lawful immigrant Who is
admitted to the United States for permanent residence, the nonimmigrant may remain only for
the duration of an authorized stay and engage only in those activities tiiat are compatible With the

specific nonimmigrant status given on entry.” Charies Gordon, Stanley Mailman & Stephen

YaIe-Loehr, Irnmigration Law and Procedure § 12.01, at 12-4 (1997).

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(2) Non-lmmigrant
Those seeking non-immigrant status must meet the requirements of a defined non»
immigrant class to obtain a non~immigrant Visa. 8 U.S.C. § lZ{)l(a)(Z) (1994).
Section ilOl(a)(lS) defines several classes of persons deemed non~immigrants. Arnong
them are temporary Workers Who perform services Which domestic Worl<;ers are unavailable to
perforrn. The statute provides:

The term ‘irnrnigrant’ means every alien except an alien Who is
within one of the following classes of non~immigrant aliens -

an alien (ii)(b) having a residence in a foreign country Which he
has no intention of abandoning Who is coming to temporarily to
[sic] the United States to perform other temporary service or labor
if unemployed persons capable of performing such service or labor
cannot be found in this country

8 U.S.C. § llOi(a)(lS)(H)(ii)(b) (1994).

In addition, the lNA defines certain classes of persons Who cannot be admitted to the
United States, Whether as immigrants or non~irnmigrants, unless certain conditions are met.
Those classes of persons include aliens Who seek to enter the United States to perform any type
of iabor. The statute provides:

[T]he following describes classes of excludable aliens Who are
ineligible to receive visas and Who shall be excluded from
admission into the United States:

(5)(A)(i) Any alien Who seeks to enter the United States for the
purpose of performing skilled or unskiiled labor is inadmissible,
unless the Secretary of Labor has determined and certified to the
Secretary of State and the Attorney General that -

(I) there are not sufficient Workers Who are able, Wiliing, qualified
and available at the time of application for a visa and admission
to the United States and at the place Where the alien is to perform
such skilled or unskilied iabor, and

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(Ii) the employment of such alien Wili not adversely affect the
Wages and Working conditions of Workers in the United States
similarly employed

8 U.S.C. § llSZ(a)($)(A)(i) (1994).

Thus, an alien seeking temporary admission to perform Work may be admitted only when
the Secretary of Labor certifies that domestic Workers are unavailable to perform such Work and
that the alien’s admission vvould not adversely affect domestic workers

These two provisions together ~»~ the provision defining temporary Workers Who provide
services for which domestic Workers are unavailable as non-immigrants and the provision stating
that such Workers are not automatically excludable -~ provide the Attorney General With the
authority to admit temporarily alien Workers upon the Secretary of Labor’s certification See. 8
U.S.C. § 1184(0) (1994).

The Secretary of Labor has promulgated regulations Which establish the procedure for
obtaining labor certifications 20 C.F.R. § 655.0, et. seq. Aliens admitted to the United States
for temporary employment in occupations other than agriculture, logging, or registered nursing
are classified as “I~I-ZB Workers.” See 20 C.F.R. § 655.0 (i996); 8 C.F.R. § 214.2(h)(i)(i)
(1997). Any employer seeking H»ZB status for an employee must “consider available United
States workers for the temporary services or labor, and shall offer terms and conditions of
employment Which are consistent with the nature of the occupation, activity and industry in the
United Statcs.” 8 C.F.R. § 214.2(h)(6)(iii)(]3). In making a certification determination, the
Secretary of Labor, or a designee, must consider the employer’s attempts to recruit domestic

Workers. 20 C.F.R. § 655.3(b). The Secretary of Labor may approve the application for labor

certification if he or she finds that qualified domestic Workers are unavailable, and that the terms

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of the alien’s employment will not adversely affect the wages and working conditions of
domestic Workers. 20 C.F.R. §§ 655.2-655.3.

After obtaining a labor certification,l the employer must file a petition for an H-ZB visa
with the United States Citizenship and Immigration Services (“USCIS”). 8 C.F.R. §
214.2(h)(6)(iii)(E). lf the petition is granted, the resulting H-ZB visa may be valid for a period of
up to one year. 8 C.F.R. § 214.2(h)(9)(iii)(B). Extensions of the H»ZB visa require repetition of

the certification process Gordon et al., supra, § 20.10(1), at 20-120.2

 

An alien H~ZB worker may lawfully remain in the United States for a period of up to

three (3) years without departing the United States. 8 C.F.R. § 214.2(h)(15)(ii)(C).
(3) Immigrant

An alternate route to corning to the United States is through the traditional “inimigrant
visa.” Under that process, an alien seeking to immigrate to the United States from a foreign
country must obtain an immigrant visa from a U.S. consul stationed in that country. 'l`he consul
will not consider any application for an immigrant visa unless the consul determines the
applicant is prima facie qualified for admission to the United States as an immigrant Heavy
demand for the limited number of immigrant visas has resulted in backlogs, often entailing a wait
period of several years, depending on his or her “priority date,” which, in the case of aliens such
as plaintiffs would be the date on which the labor certification on their behalf, subsequently
approved, was filed with the Department of Labor. Gordon, Mailman & Yale-Loehr,

immigration Law and Procedure § 31.03; 8 U.S.C. 1154.

 

l lf the Secretary of Labor refuses to issue the certification, the regulations permit an applicant to submit
countervailing evidence contesting the Secretary’s decision directly to the INS. 8 C.F.R. § 214.2(h)(6)(iv).

2 The foregoing description of the immigration process has been largely borrowed verbatim horn District Judge
i\/lnkasey’s analysis in his Opinion in United States, et al. v. Richard Dattner Architects, 972 F. Supp 738

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B. Generai Comments

The point needs to be made here that the Plaintit`ts, by their own admission, were able to
come to the United States using H-ZB status and were able to obtain work making presumably
better wages at Signai than would be available in their home country. ’i`he alternative would
obviously have been to appiy for immigrant status in their horne country and wait for their visa
applications to be processed This truism is a factor to be borne in mind when considering the
sufficiency of the plaintiffs’ Compiaint as set forth hereinafter. Moreover, Plaintii"t`s admit that,
as part of the H-ZB visa process, they met with United States Consular officials and were
interviewed by those officials Also, the Complaint does not allege facts concerning the present
legal or illegal immigration status of any of the Plaintifi"s or putative plaintiffs

C. The Allegations of the First Amended Compiaint

The Cornplaint and First Amended Cornplaint allege that the piaintiffs are “Indian”
nationals and former or current H-ZB “guestworl<ers”3 who were allegedly recruited from India
and/or the United Arab Ernirates “at various times between 2003 and the present.” First
Arnended Cornplaint, 11 l4. The Plaintiffs are grouped into Group l and Group II. Group i
Plaintiffs were allegedly recruited in 2003, and Group ll Plaintiffs were allegediy recruited in
2006. 1d,1ll9~»27.

The Defendants are grouped into “The Employer Dei`endant,” i.e. Signal International,
L.L.C. (“Signa ”); “The Recruiter Defendants,” i.e. Globai Resources, Inc. (“Global”), Michael
Pol (“Pol”), Dewan Consultants i’vt. Ltd. (a/l</a Medtech Consultants) (“Dewan Consultants”)

and Sachin Dewan (“Dewan”); “The Legal Facilitator Dei`endants,” i.e. Malvern C. Burnett

 

3 As set forth above, there is no such nomenclature in U. S. immigration law.

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(“Burnett.”), Gulf Coast immigration Law Center L.L.C. (“GCILC”) and Law {)ffices of Malvern
C. Burnett, A.P.C. (“Burnett Law Offices”); and “The labor Broker Defendants,” i.e. Indo-
Arnerisoft, L.L.C., Kurella Rao (“Rao”) and J & M Associates of Mississippi, Inc. (“J & M”).
Id., at‘[[ 33; 34-43; 44-49; 50-53.

The Plaintiffs contend that they were recruited to work in the United States through
advertisements which “prornised that qualified candidates could obtain legal permanent
residence (green cards) and thereby legally and permanently immigrate to the United States with
their farnilies.” First Amended Complaint, ii 77~8(). 'l`he Plaintiffs are allegedly welders, fitters,
and marine fabrication workers Id. The plaintiffs allege that they paid fees to The Recruiter
Defendants and The Legal Facilitator Defendants “to obtain for the piaintiffs’ work green
cards enabling the plaintiffs to permanently and legally immigrate to the United States with
their families.” Ia’. ‘§ 88. The Cornplaint further asserts that Signal applied for H-»ZB visas for the
Plaintiffs, but the Plaintiffs complain that “Recruiter Defendants failed to disclose material
facts regarding the H-ZB visa, including the fact that H~ZB visas confer only a temporary non~
immigrant status which does not ailow the bearer to adjust to permanent residency status and the
fact that applying for H»ZB visa status is fundamentally incompatible with simultaneously
applying for a green card. Id. , at 122. In pertinent part, the Cornplaint further alleges that

“Signal further authorized the Recruiter Defendants to represent
that Signal would assume sponsorship of the pending and as-yet-
unsuccessful green card applications on behalf of the Group l
Plaintiffs and apply for at least two to three til-233 visa extensions
on behalf of all Piaintiffs to allow them to remain in the United
States working for Signal while the Group l Piaintiffs’ green card

applications were being processed

The Cornplaint further alleges as follows:

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Legai Facilitator Defendants and Recruiter Defendants induced the
Group ll Plaintiffs to enter the green card contracts without intent
to diligently pursue the Group ll Plaintiffs’ applications and
without any basis whatsoever for representing inter alia, that
Defendant Signal had lawful long-term employment opportunities
to provide the Group ll Plaintiffs; that Defendant Signal could
legally apply for numerous H~ZB visa extensions to maintain the
Group II Plaintiffs’ presence in the United States; that working
under an H-ZB visa for Signal was not inconsistent with applying
for permanent immigration status sponsored by Signal; that green
card applications sponsored by Defendant Signal would be valid
and bona tide under U.S. immigration law; and that such
applications were likely to be successfully completed and approved
within the promised timelines. Id., ll 145.

The Plaintiffs, on behalf of themselves and a putative class, further allege that upon their
arrival in the United States, the living and working conditions provided by Signal at Mississippi
and Texas facilities were unacceptable and that certain actions taken against them by Signal
constituted false imprisonment, assault and battery, and negligent and intentional infliction of
emotional distress Id., at 1] 182~258.

The Plaintiffs assert twelve (12) claims for relief They include the so-called Legal
Facilitator Defendants in only three (3) of them; namely, a claim under the Racketeer influenced
and Corrupt Organizations Act, 18 U.S.C. § 1962(0) and ill U.S.C. § l962(d) (RlCO);4 fraud and
misrepresentation5 and breach of contract6 The plaintiffs do not allege their present immigration
status
II. STANDARDS APPLICABLE TO MOTION 'I`O DISMISS

A. Bell Atlw__g_ptic Cort). v. Twomblv

ln considering a l\/lotion to Dismiss for failure to state a claim under Rule lZ(b)(G), the

 

4 rhe second crain For asset tit 271 - 3 i s.
5 rha rata claim nor ne:rer, in 339 ~ 350.

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district court must accept all well-pleaded facts as true and view them in the light most favorable
to the plaintiff Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. l996). That said, in Bell Atlantic
Corp. v. Twornbly, U.S. m, 127 S.Ct 1955, 167 L.Ed.Zd 929 (2007), the U. S.
Supreme Court specifically rejected blind adherence to the longstanding maxim that “‘a
complaint should not be dismissed for failure to state a claim unless it appears beyond doubt that
the plaintiff can prove no set of facts in support of his claim which would entitle him to relief
...”’ at 1969.7 ln Twombly, the Suprerne Court held that Federal Rule of Civil Procedure S(a)
requires factual allegations sufficient “to raise a right to relief above the speculative level.”
Further, the plaintiff must allege “enough facts to state a claim that is plausible on its face,”
Twoinbly, at 1974. The “plaintiff’s obligation to provide the grounds of his entitlement to relief
requires more than labels and conclusions, and a formulate recitation office elements cfa cause
ofaczion will not do.” Id. at 1964~65. Einphasis supplied lt is especially pertinent to this case
that in Twornbly the Suprerne Court (there reviewing claims of conspiracy in a Sherrnan Anti-
l`rust Act case) held that alleging parallel conduct, without more, does not suggest conspiracy,
and a conclusory allegation of agreement does not supply facts adequate to show illegality l27
S. Ct. at l972.

B. Heightened Plcadings Requirement

l\/loreover, Federal Rule of Civil Procedure 9(b) provides that “[iln all averments of fraud

cr mistake, the circumstances constituting fraud or mistake shall be stated with particularity.”8

 

6 The Sixth Claini For Relief, $l‘l[ 351 ~ 357.

7 in fact, it can be fairly said that the Supreme Court has jettisoned that doctrine

8 'l`he purpose of Rule 9(b) is three~fold, First, the rule ensures that plaintiffs allegations are specific enough to
inform a defendant of the act of which the plaintiff complains thereby enabling the defendant to prepare an effective
response and defense l\flitchell Energy Corp. v. Martin, 616 F.Supp. 924, 927 (S.D. "i`ex. l985) (internal citations
omitted). Second, Rule 9(b) eliminates those complaints filed merely as a pretext for discovery of unknown wrongs

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See also Old Time Enter., Inc. v. International Coffee Corn., 862 F.f?.d 1213, 1217 (Sth Cir.
1989).

The heightened pleading standard is derived from concerns that unsubstantiated charges
of fraud can irreparably damage a defendant’s reputation @gonornic lighting Svstem, Inc. v.
Cornmercial Petroleum Eouinrnent, 2003 WL 22436101 (W.D Tex. 2003).
III. THE PLAINTIFF'S COMPLAIN'I` FAILS TO STATE A CLAIM

A. General Discnssion of RIC()

rl`he “RICO” statute declares in pertinent part that

(a) lt shall be unlawful for any person who has received any
income derived, directly or indirectly, from a pattern of
racketeering activity or through collection of an unlawful debt in
which such person has participate as a principal within the
meaning of section 2, title 18, United States Code, to use or invest,
directly or indirectly, any part of such income, or the proceeds of
such income, in acquisition of any interest in, or the establishment
or operation of, any enterprise which is engaged in, or the activities
of which affect, interstate or foreign commerce...

(b) lt shall be unlawful for any person through a pattern of
racketeering activity or through collection of an unlawful debt to
acquire or maintain, directly or indirectly, any interest in or control
of any enterprise Which is engaged in, or the activities of which
affect, interstate or foreign commerce

(c) lt shall be unlawful for any person employed by or associated
with any enterprise engaged in, or the activities of which affect,
interstate or foreign commerce, to conduct or participate, directly
or indirectly, in the conduct of such enterprise’s affairs through a
pattern of racketeering activity or collection of unlawful debt.

 

Id. 'i"liird, the rule protects a defendant from unfounded charges of wrongdoing which injure his reputation and
goodwill Id.

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(d) lt shall be unlawful for any person to conspire to violate any of
the provisions of subsection (a), (b) or (c) of this section

'l`o show that the defendants violated the substantive RICO statute, plaintiff must

therefore show

(1)
(2)
(3)
(4)
(5)
(6)
(7)

that the defendant(s)

through the commission of two or more acts

constituting a “pattern”

of “racketeering activity”

directly or indirectly invested in or maintained an interest in or participated in
an enterprise

the activities of which affected interstate or foreign commerce;

'l`he Complaint fails to state a claim because at a minimum it fails to allege facts which

would establish that l\/lovers committed two or more predicate acts and/or that l\/lovers engaged

in any "racketeering activity" and/or that l\/Iovers engaged in a “pattern” of racketeering activity

and/or that l\/lovers invested in or maintained an interest in or participated in “an enterprise.”

B.

Tbe Co:nplaint Fails to Allege A Pattern

'l`o prove a “pattern of racketeering activity” a RICO plaintiff must allege and prove “at

least two predicate acts of racketeering that are related and amount to or pose a threat of

continued criminal activity.” See Tel-Phonic Services. lnc. v. TBS lntern, Inc., 975 F.Zd 1134,

1140 (5"h Cir. 1992). Thus, merely establishing the minimum number of predicates is not enough

to establish a “pattern.” Id., at ll40.

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Predicate acts for RICO violations are delineated in 18 U.S.C. and include for purposes
of the instant case, mail fraud and Wire fraud. When bringing claims under RICO based on the
predicate acts of mail fraud or Wire fraud, the underlying predicate acts must be pled With
particularity pursuant to Fed. R. Civ. P. 9(b). See, for exainple, Joe N. Pratt lns. v. Doane, 2008
WL 819011 (S.D. Tex. 2008). When determining Whether a fraud claim should be dismissed for
lack of particuiarity, “the Rule 9(b) standards require a party to plead With specificity as to the
statements (or omissions) considered to be fraudulent, the speaker, when and why the statements

Were made, and an explanation as to Why they are fraudulent Plotkin v. lP Axess lnc., 407 F.3d

 

690, 696 (5th Cir. 2005). Moreover, “[general] allegations, which lump all defendants together
failing to segregate the alleged Wrongdoing of one from those of another, do not meet the
requirements of Rule 9(b).” Patel v. Holidav Hospitalitv Franchising, 172 ii Supp.Zd 821, 824
(N.D. TeX. ZOOl). (Eniphasis supplied.) A good example of this occurs at il 83 cf the First
Amended Compfaint, to-Wit:

Upon information and belief, prior to attending these meetings and
testing sessions, Labor Broker De]%ndants, Recrai!'er Defendanrs,
anal Legal Facilz'fator Defena’ams conferred in and around the
months of February, March, and April 2004 by phone, mail, fax
and or e-mail to organize, plan, and coordinate the logistics and
substantive content of these meetings and testing sessions
(Emphasis supplied.)

Another example of this occurs at ll 145
Legal Facilitator Defendants and Recruz'ter Dej%ndants induced
Group II Ptaintiffs to enter the green card contracts Without intent

to diligently pursue Group II Plaintift`s‘ applications and Without
any basis Whatsoever for representing infer alia, that defendant

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Signal had lawful long-term employment opportunities to provide
Group ll Plaintiffs; that Defendant Signal could legally apply for
numerous H-ZB visa extensions Group ll Plaintiffs’ presence in the
United States; that Working under an H~ZB visa for Signal Was not
inconsistent With applying for permanent immigration status
sponsored by Signal; that green card applications sponsored by
Defendant Signal Would be valid and bona fide under U.S.
immigration lavv; and that such applications Were likely to be
successfully completed and approved within the promised
timelines. (Emphasis supplied.)

Another representative example occurs at FBG of the Exhibit l, Part l filed in response to

the Court’s RICO standing order, to~Wit:

 

 

Mode of Communication Participants })etaiis

l\/lails, or telephone, fax, or l\/Iaivern C. Burnett, Burnett Discussions and

electronic mail (wires) between Nevv Law Offices, 5 & M transmission of

Orleans, Louisiana, Mississippi, Associates, Sachin Dewan, materials related to

l\/lumbai, india and/or Dubai UAE Dewan Consultants Wori<ers’ green card
applications sponsored
by J & l\/i Associates,

Specific information
regarding these
communications is
currently in the sole
possession of
Defendants.

 

 

 

'i`hus, the plaintiffs’ allegations fail to properly allege a “pattern” of racketeering activity9

C. The Compiaint Fails to Allege Facts Which Support That There Was
“An Enterprise”

"l`he plaintiff also fails to allege facts Which Would establish the existence of an

 

9 We are mindful of the Fitth Circuit’s decision in Abraharn v. Singh, 480 F.3d 351 (Sth Cir. 2007); however, each
case stands on its own factual allegations Moreover, the Court in Abraham obviously did not measure the
allegations there by the standard enunciated in Bell Atlantic v. Twombly, (supra), because it commented more than

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“enterprise.” An “enterprise” has been defined as

...an ongoing ‘structure’ of persons associated through time, joined
in purpose, and organized in a manner amenable to hierarchiai or
consensual decision~making.” ennings v. Ernry, 910 P.Zd 1434,
1440 (7“’ cir. 1990).

See Segreti v. Lome, 747 F.S. 484, 486 (N.D. lll. 1990).

l\/loreover,

Tlie existence of an enterprise is established by “evidence of an
ongoing organization, formal or informal, and by evidence that the
various associates function as a continuing uni .” United States v.
Turkette, 452 U.S. 576, 583, 101 S.Ct. 2524, 2528, 69 L.Ed.f£d 246
(1981). While a plaintiff need not allege in his complaint
information sufficient to prove the existence of an enterprise, a
plaintiff must identify the enterprise And, such identification
must necessarily include details about the structure of the
enterprise See Jenning , 910 F.Zd at l439-l440, 1441. Id.

Needless to say, plaintiffs here do nothing more than make conclusory assertions of "an
enterprise" (or three enterprises) and do not allege the existence of any ongoing organization
Witli a decision-making capability

Accordingly, for that reason as Well, the Plaintiffs alleged RIC{) claims against Movers,

should be dismissed

IV. THE COMPLAINT, AS AMENI}ED, FAILS TO S’I`ATE A CLA.IM WITH
RESPECT 'I`O ALLEI)GED STATE LAW CLAIMS

A. State Law Claim For Fraudulent Inducement of Contract

Under Louisiana iaw, a claim for fraudulent inducement to contract requires the

 

once of the “liberal pleading standard” applicable In addition, we submit that Rule 9 governs the instant matter.

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following allegations: (l) a misrepresentation suppression, or omission of true information; (2)
the intent to obtain an unjust advantage or to cause damage or inconvenience to another; and (3)
the error induced by a fraudulent act must relate to a circumstance substantially influencing the
victim’s consent to the contract Shelton v. Standard/7OU Associates, 798 So.Zd 60, 64 (La.
2001). A claim for fraudulent inducement must be pled with particularity, as required by Rule
9(b). Buford v. Howe, 10 F.Bd 1184, l298 (5th Cir. 1994).

Since the plaintiffs have failed to allege fraud With particularity, this claim should be
dismissed for the reasons set forth above.

B. State Law Ciaim for Breach of Contraet

The Plaintiffs’ State Law claim for breach of contract must similarly fail. lhe claim is
vague. For example, the First Amended Cornplaint asserts that “Defendants breached their
contracts by failing to comply With their binding promises regarding green cards and H~ZB visa
status.” At best, the purported claim against Movers is one of detrimental reliance. in order to
sufficiently allege such a claim for detrimental reliance under Louisiana lavv, the Plaintiffs must
allege (l) a representation by conduct or work; (2) justifiable reliance thereon; and (3) a change
in position to one’s detriment because of the reliance Orr v. Bancroft Bag, Inc., 687 So.2d 1068,
1070 (La.App. 2 Cir. 1997). Tlie Plaintiffs must specify (and have not) What each individual
defendant allegedly promised to do and specify What each individual defendant allegedly did not

do.

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V. ALTERNATIVELY, ALL STATE LAW CLAIMS SHOULD BE DISMISSED
WITHOUT PREJUDICE

Since there are no viable federal claims presented here as against l\/lovers, this Court
should decline supplemental jurisdiction over the plaintiffs’ alleged claims against Movers Which
are based upon State lavv, in the event this Court does not dismiss those St'ate-Law Claims as
suggested supra

There is ample authority for this Court to decline jurisdiction here. See, for example,
Tinl<;er v. Del\/laria Porche-Auid, Inc., 632 F.Zd 520 (5th Cir. l980); 28 U.S.C. 1367 (3). This
matter has only just begun; therefore, it is definitely in its “early stages” as contemplated under
28 U.S.C. 1367 (3). Furthermore, “substantial preparation” has not yet been undertaken With
respect to any claims. Clearly, the dismissal of the federal claims here Would create a classic
situation Where the Court‘s supplemental jurisdiction over any pendent State law claims against
the defendants Would not be Warranted. See Praclz`ce Commentary, page 224, 26 U,S.C.A. 1367.
Vl. C()NCLUSION

For the reasons set forth above, the Plaintiffs’ Complaint, as amended, should be
dismissed With prejudice Alternatively, in the event the Federal Lavv claims are dismissed and
the State LaW claims are not, the State Law claims should be respectfully dismissed vvithout

prejudice

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Respectfully submitted,

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Burnett, Law Offices Of Malvern C. Burnett,

A Professional Law Corporation and

Gulf Coast lmmigration LaW Center, L.L.C.

CERTIFICATE OF SERVICE

l do hereby certify that on May 21, 2008 a copy of the above and foregoing pleading Was
filed With the Clerk of Court by using the CM/ECF system Which Will send a notice of electronic
filing to all counsel of record unless indicated otherwise

/S/ RALPH R. ALEXIS, III

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